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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                 v.                           :       Case No. 21-cr-53 (CJN)
                                              :
EDWARD JACOB LANG,                            :
                                              :
                       Defendant.             :


      UNITED STATES’ UNOPPOSED MOTION FOR A STATUS CONFERENCE

       The United States, through undersigned counsel, respectfully moves this Court to hold a

status conference at its earliest convenience to address scheduling for the upcoming November 4,

2024 trial in this case. The United States remains prepared to start the above-captioned trial as set

but wishes to inform this Court that the government will be unable to rest its case-in-chief before

November 18, 2024, a date that is outside the two-week trial estimate that the parties had provided

to this Court.

       The prosecution has discussed the trial schedule with counsel for the defendant and as a

result has concluded that there are additional matters which may impact scheduling. Steven A.

Metcalf, Esq., counsel for the defendant, has advised he does not object to the United States’

request for a status conference. The parties do not oppose proceeding by telephone or video-

teleconference.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:     s/Karen Rochlin
                                              Karen Rochlin
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